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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR04-512-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   ELIZABETH GUTIERREZ,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Commit Bank Fraud; Bank Fraud

16 Date of Detention Hearing:     December 9, 2004

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    The defendant, together with eight co-defendants, has been indicted for bank fraud


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 and conspiracy to commit bank fraud.

02          (2)     Ms. Gutierrez has a criminal history that includes attempted felony VUCSA,

03 shoplifting, identity theft, hit and run of an attended vehicle, making false statements, and a

04 pending felony controlled substance charge in Cowlitz County. According to criminal records,

05 she is associated with two alias birth dates, and an alias name. According to the Department of

06 Corrections, the defendant was previously on supervision for three different causes, each of which

07 was terminated unsuccessfully due to non-compliance. She failed to appear in court on several

08 occasions.

09          (3)     The defendant has no relatives living in the state of Washington. She has received

10 treatment for mental health issues. Her history includes substance abuse, with relapse in

11 November 2004, and use of prescription pain pills without a doctor’s authorization.

12          (4)     The defendant presents a risk of nonappearance based on her lack of ties to this

13 District, her self-reported history of untreated drug abuse, potential access to fraudulent

14 identification and non-compliance with Doc supervision. She represents a risk of danger based

15 on her illegal drug use, her criminal history and the nature of the instant offense.

16          (5)     There does not appear to be any condition or combination of conditions that will

17 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

18 to other persons or the community.

19 It is therefore ORDERED:

20          (1)     Defendant shall be detained pending trial and committed to the custody of the

21                  Attorney General for confinement in a correction facility separate, to the extent

22                  practicable, from persons awaiting or serving sentences or being held in custody


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               pending appeal;

02         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

03               counsel;

04         (3)   On order of a court of the United States or on request of an attorney for the

05               Government, the person in charge of the corrections facility in which defendant is

06               confined shall deliver the defendant to a United States Marshal for the purpose of

07               an appearance in connection with a court proceeding; and

08         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

09               counsel for the defendant, to the United States Marshal, and to the United States

10               Pretrial Services Officer.

11         DATED this 20th day of December, 2005.



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13                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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